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1    Lucio Celli
     89 Widmer Road
2    Wappingers Falls, New York 12590
     718-547-9675
3
                                         UNITED STATES COURT FOR THE
4
                                             DISTRICT OF COLUMBIA
5
     LUCIO CELLI,                                          Case No.: 21-cv-03369 (CRC)
6
     Plaintiff,                                            ADDENDUM DECLARATORY AND INJUNCTIVE
7
                                                           COMPLAINT AGAINST DANIEL PEREZ OR AN CJA
     vs.
8                                                          ASSIGNED TO WRITE THE APPEAL

9    Weingarten et al,

10                         Defendant
11
             In the second amended complaint, I forgot to include facts that would merit
12
     a suit for injunctive relief or declaratory relief against Mr. Daniel Perez, esq. and
13

14
     the following is what I wanted Mr. Perez to file with the 2d. Cir., but he is not

15
     willing to file the document, which is in between the lines:

16                                               I. NATURE OF THE CASE

17      1. This is an action for declaratory judgment pursuant to the Federal Declaratory Judgments
18          Act, 28 U.S.C. §§ 2201–2202, and Rule 57 of the Federal Rules of Civil Procedure.
19      2. This is an action for injunction relief because it appears that Mr. Perez, esq. will not

20
            provide me with the required representation.
                  a. What is in between the lines are items that I told Mr. Perez that I wanted him to file
21
                     because filing them protects my rights
22
                  b. Mr. Perez is under the assumption that the appeal and 28 USC § 2106 are the same,
23
                     but the problem is the fact that not filing 28 USC § 2106 affects me
24
                  c. Filing an appeal and filing motion pursuant to 28 USC § 2106 are different, which I
25                   provided him a Supreme Court case that alludes to the difference.
26                        3.      Plaintiffs, Lucio Celli bring this action individually. These plaintiffs
27
              (collectively referred to as “Defendant”) bring this action against Weingarten et al (with
28   ADDENDUM DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST DANIEL PEREZ OR AN CJA
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1               Daniel Perez, esq. named). In terms of Mr. Perez—I seek to have him address the
2
              structural errors, intimdation by Judge Engelmayer and Mr. Silverman, and other
3
            items that appear on the docket. This injunction seeks remedies to prevent Mr. Perez not
4
                             prefrorming his duties and representing Judge Cogan and Randi
5

6                                                II. JURISDICTION and PARTIES

7
         4. Federal courts are courts of limited jurisdiction (limited power). Generally, only two types
8
            of can be heard in federal court: cases involving a federal question and cases involving
9
            diversity of citizenship of the parties. Under 28 USC §1331, a case arising under the
10
            United States Constitution or federal laws, or treaties is a federal question case. Under 28
11
            USC § 1332, a case in which a citizen of one State sues a citizen of another State or nation
12          and the amount at stake is more than $ 75,000 is a diversity of citizenship case. In a
13          diversity of citizenship case, no defendant maybe a citizen of the same State as any
14          plaintiff.
15       5. The basis for federal court’s jurisdiction is “Federal Question” and “Diversity of

16          citizenship”

17
           Federal Question:
18

19              a. The Constitutional torts are 1st Amendment (Social Contract Doctrine, petition to
                    government, access to the court, etc.), 4th Amendment (Detainment, probable cause
20
                    and abuse of process1), 5th Amendment (Due Process Clause), 6th Amendment
21
                    (Effective assistant of counsel, impartial district, calling witnesses2, etc.3) , 14th
22
                    Amendment (Due Process, equal protection of the law, etc.4) and 42 USC § 1983
23

24

25

26   1
       Not sure of this one because I do not have my computer to refer to information
     2
       I believe the term is compulsory, but not sure because of no computer
27   3
       All terms that the Supreme has declared is needed for a fair trial within the 6th Amendment
     4
       I remember equal protection and due process, but there are others like privileges that applies to my injunction.
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1        “Diversity of citizenship”
2
       6. Daniel Perez, esq. 93 Spring St, Newton, NJ 07860
3

4

5
       7. Amount in Controversy
6
             a. This is not about money presently, but the looming 3020-a could result in
7
                termination, so my yearly salary is well-above threshold of $75,000.
8
             b. This suit is about showing the country that I did not receive a trial
9            c. This suit is about showing the country that Sen. Schumer judges helped Randi
10              Weingarten deprive me all my constitutional rights
11           d. My termination hearing will focus in on the criminal charges
12           e. I want to be able to submit a video brief and show the structural errors

13           f. I want to be able to show how the AUSAs of EDNY helped deprive me of a fair
                trial, deprived me liberty for Judge Cogan, and covered of Judge Cogan’s crime for
14
                his former clients the UFT
15
             g. I audio recorded and it is better for the public to see a face that corresponds with the
16
                voice
17

18

19   _____________
20

21      I am writing the Court to inform them that I need new counsel, if Mr. Daniel
22   Perez, esq. does not ask for the following:
23

24

25
       8. Extension of time because there are hearings that need to occur in district

26        court via 28 USC § 2106
27
               a. Mr. Perez said he will read all documents
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1                 b. Mr. Perez gave me a few examples, but I do not trust because Judge
2                     Cogan has interfered between my lawyers and myself
3
                  c. Example, Mr. Silverman said, he would not present my intent of
4
                      Judge Cogan committing a crime against me because no one else
5
                      believed it.”
6
                          i. This is not the case as I have many, many AUSAs telling me
7
                             Judge Cogan committed a crime against me
8
                         ii. I have boarder like students believe Cogan committed a crime
9
                        iii. Judge Ritter was impeached for practicing law for his former
10
                             clients, like Judge Cogan for the UFT in my case
11
                        iv. I cited a case where Justice Roberts said no one would believe
12

13
                             that the decision was not influenced by him because they were

14
                             once his clients

15                       v. Even without the above-referenced statements, the intent is
16                           mine and not his, so he was to present evidence based on my
17                           intent
18
          9. Recusal of AUSA Karamigious with sanctions for misconduct
19
          10. Asking the court for AUSA Karamigious to produce a waiver from the DOJ,
20
             as required
21

22
          11. Motion to have my audio recordings of Judge Engelmayer intimidating me in

23
             court posted on the docket and have a page devoted to all my audio

24           recordings of AUSAs, my lawyers, law enforcement because then a clear
25           picture of how I was denied a fair trial will appear.5
26

27
     5
         I looked in my rules book and I do not know what type of motion would it be called
28   ADDENDUM DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST DANIEL PEREZ OR AN CJA
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1              d. I have read many opinions/decisions where the court of appeals states:
2                  “we cannot deduce a judge’s statement for biasness because there are
3
                   not any audios of the judge speaking”—or some variation
4
               e. Now, Judge Engelmayer intimidated me on issues like bail, intent,
5
                   allowed Mr Silverman to lie—knowingly because he, the judge,
6
                   received my emails and other items.
7

8        12. Motions under 28 USC § 2106
9

10
               f. Some already appear on the court of appeals’ docket, but the court

11
                   will not consider them unless the lawyer makes the request

12             g. Whose intent does 18 USC §875(c) require Judge Engelmayer’s, Mr.
13                 Silverman’s or AUSA Karamigious6 OR does the statute require the
14                 defendant to say his or her intent.
15                     i. I believe it is mine
16             h. Edelman of the NYPOST having my health information
17             i. Bail/illegally detained
18             j. Association with Sen. Schumer/recusal—Judge Porteous
19             k. The misconduct of my lawyers, which I have AUSAs saying so and
20                 letters from the DOJ
21
               l. The misconduct of the AUSAs, which I have AUSAs saying so and
22
                   letters from the DOJ
23
               m. The misconduct of Mr. Drom, as what he wrote does not match what I
24
                   have Mr. Weiss telling me
25

26
     6
27     Based on conversations with Mr. Silverman and I said about his conversations with the AUSA.
     I cannot state beyond what the AUSA wrote in the briefs or said in court
28   ADDENDUM DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST DANIEL PEREZ OR AN CJA
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1                  n. Based on what Mr. Silverman said that doctors who wrote the
2                      psychological reports said that I was delusional because of Judge
3
                       Cogan,
4
                           i. In NYS it is misconduct not to provide an example, which the
5
                                three reports did not state
6
                          ii. Whether what Mr. Silverman said, at the moment, is true or not,
7
                                this is not relevant because, according to the state, how could
8
                                anyone confront their delusions, if they are kept in the dark and
9
                                could be malpractice
10
                   o. The issue that Judge Engelmayer knew, because he received the
11
                       emails, that Mr. Silverman lied about who were a primary witnesses,
12

13
                       like the judge and who could be a third-party witness, like Mr. Geyh

14
                   p. There are 30 or 40 (or lower or higher) motions not answered and

15                     placed under seal, which all need to be answered for a complete
16                     record
17
                                                 Part 1: Reason
18

19        13. This request is being made pursuant to the Court’s supervisory power of CJA
20            lawyers. See Nnebe v. US, 534 F.3d. 87 (2d Cir. 2008)7 I must find my other
21
              pdfs or sit with my brother to see what files were already sent and placed
22
              under seal. I am thinking of a Cronic case or Cronic-type case where the
23
              goals of the lawyer and the goals of the client diverge and creates a conflict
24
              of interest under Cronic.
25

26

27
     7
         Place holder until I can find the right case.
28   ADDENDUM DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST DANIEL PEREZ OR AN CJA
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1                             Part 2: Mr. Perez’s statements to me
2

3      14. Mr. Perez never said that he will not file anything but said he must review the
4         documents and transcripts before he will give me his answer, which is a fair
5         assessment—I believe. The only item that he said, “I do not believe, I will
6         ask for an extension in this case.” However, I know that the record is not
7         complete, and I have experienced lawyers, in this case, say “we will see” and
8         they never do anything. Mr. Silverman said, which is audio recorded, he
9         would do and then he never did anything.
10     15. Mr. Perez has not received all transcripts to my knowledge nor has he
11
          reviewed them for his decision—fully, but he also said when he receives the
12
          transcripts, he will need to provide the court with a deadline of for his brief
13
          and this does not work for a timeframe that would include 28 USC § 2106
14

15                                Part 3: Extension of Time
16
       16. I require Mr. Perez to ask, at minimum, a month extension to review the
17
          record and see if he believes that will or not file 28 USC § 2106.
18

19
       17. Please Take Notice, if Mr. Perez does not ask for the minimum extension of

20        time after receiving all documents, then I require a new lawyer because

21        reviewing documents and deciding on 28 USC § 2106 will not fit into a
22        realistic timeframe, Mr. Perez has in his mind.
23     18. Obviously, if Mr. Perez decides to file my 28 USC § 2106 motions, then the
24        court of appeals must decide whether to force Judge Engelmayer to hold
25        further proceedings or not. Then, so on from here, which I do not know the
26        timeframe for either.
27

28   ADDENDUM DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST DANIEL PEREZ OR AN CJA
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1      19. I require Mr. Perez to ask, at minimum, a month extension to review the to
2         review his brief prior to submission to the Court of Appeals because he
3
          cannot submit any brief without my approval, as Mr. Silverman submitted a
4
          brief that did not reflect my intent and would not change it
5

6

7
     Part 4: AUSA Karamigious’ recusal and sanctions for not stating whether she
8
                                        has a waiver
9

10

11

12     20. I need the court to know that sanctions against the AUSA, removal of AUSA
13        via Administrative Procedure Act, and recusal are not up for discussion
14        because of Pres. Exc. Order Ms. Karamigious signed/DOJ policy on
15        prohibition of participating in a case where your former employer is a party
16        or has interest, which Mr. Perez also said he will see.
17
       21. I have two DOJ ethics officers saying that the AUSAs are in violation
18
          because they will not state for the record whether they have a waiver or not—
19
          this alone, I will require another lawyer. Let’s be clear, AUSAs can
20
          participate in a case where their former employer appears, if they seek and
21
          have a waiver. The problem is when the AUSA refuses to or hides the fact
22
          whether they sought a waiver or not.
23
       22. Please Take Notice, if Mr. Perez, esq. already does not want to seek recusal
24
          or sanction against AUSA Karamigious, he is to inform the court and I need
25
          another lawyer
26

27

28   ADDENDUM DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST DANIEL PEREZ OR AN CJA
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1      23. Please Take FURTHER Notice, the recusal needs to happen within the first
2         week of January—this is straightforward, as I understand the issue of
3
          sanctions, even though I have letters from the DOJ and DOJ personnel saying
4
          she committed misconduct, Mr. Perez requires more time.
5
       24. Please Take EVEN further Notice, I am not dealing with another lawyer
6
          who is ALLOWING AUSA Karamigous get away with misconduct before
7
          the court, so it is either Mr. Perez does what is required or I need a new
8
          lawyer because I have letters from the DOJ and over 80 DOJ personnel
9
          saying what AUSA Karamigious and AUSA Bensing did to me is
10
          misconduct and covered up Judge Cogan’s crime, which I would love to have
11
          a true hearing call everyone that I spoke to because the truth needs to be
12

13
          appear on the docket and the court needs to protect the integrity of the

14
          system.

15     25. Essentially, I need an answer from Mr. Perez about 28 USC § 2106 prior to
16        him or any lawyer telling the court what date the brief will be filed because
17        my rights were not protected in district court and Judge Engelmayer did not
18        allow me to develop a record and 28 USC § 2106 is the vehicle to correct this
19        GROSS injustice that EVERYONE outside of the 2d. Cir. saw at the DOJ
20        and I have letters from the DOJ too.
21     26. These items are not negotiable because it is my life and I have evidence to
22        support my claims, as my opinions are WORTHLESS, but the opinions of the
23        government are gold. According to letters and DOJ personnel, I received
24
          unfair trail, ineffective assistance of counsel, and the misconduct of the
25
          AUSA
26

27

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1            Part 5: Judge Engelmayer’s statements of my lawyers and AUSAs need
2                                      to be taken in bad faith.
3

4        27. Please Take Notice, Judge Engelmayer’s assessment of Mr. Silverman or
5           AUSA Karamigious cannot be taken in good faith because, as examples,
6        28. Judge Engelmayer received my emails and knows Mr. Silverman
7           intentionally did not write my intent into the brief
8                   a. Then, there is the fact that the Judge Engelmayer to behave like my
9                      lawyer and tell me what my intent was and was not, see 28 USC §
10                     454
11
                    b. EVERY court, Judge Engelmayer’s behavior was biased and be
12
                       voided or overturned (I do not have my computer) with misconduct
13
                       complaints filed by the judges who read the complaint
14
                    c. REMEMBER, the practice of law by a sitting judge is 3 days
15
                       without day to 11 months without pay—again, 28 USC § 4548
16
         29. Judge Engelmayer was DOJ personnel in 1990s and knows and understand
17
            AUSA Karamigious misconduct, so he was well of aware of the prohibition
18
            to work on a case where your former employer is part of
19
                    d. This stems from the Gov’t Act of 1978
20
                    e. This stems from the Pres. Exc. Order that started in 1989 and there
21

22
                       is a copy of Judge Engelmayer’s signed document

23
                    f. There are judicial misconduct decisions and recusal decisions

24                     because of what Judge Engelmayer ignored about the AUSA, as he
25

26
     8
      The statute says misdemeanor, but the only consequence I ever found were days without pay
27   and prior to the enactment of the statute Judge Ritter was impeached and convicted for the act of
     practice of law
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1                   worked and knew the policies of the DOJ, Exc. Order requirement,
2                   and Gov’t Act of 1978—if I had my computer, I could have
3
                    provided the court with names
4

5                                           Conclusion
6
       30. Now, Mr. Perez has been upfront with me and he appears to be sincere, but I
7
          know my rights were violated by everyone. I have audio recordings of DOJ
8
          people telling me that my rights were violated, and I have letters from the
9

10
          DOJ saying my rights were violated, so 28 USC § 2106 is the only way to

11
          correct the issue to create a complete record for this court’s consideration, as

12        facts and evidence is being hidden from the docket and the public.
13     31. What my lawyers have done is a crime and I WANT all AUSAs that I spoke
14        to tell the world and I want it streamed live because they have figured out
15        ways to prevent me from gaining remedies. Please Take Notice, I was
16        deprived of a fair trial and the world needs to hear the audios with people’s
17        faces
18     32. Mr. Perez, esq. has until January 5, 2022, to file a motion granting permission
19        to contact the court directly because I need remedies PRIOR to any notice of
20        the filing of a brief. This is not negotiable because Judge Engelmayer
21
          intimidated me into a guilty plea, the misconduct of AUSA, and Judge
22
          Engelmayer and Mr. Silverman hid the criminal conduct of Judge Cogan for
23
          Randi Weingarten and the UFT—TRULY EVERYONE, I MEAN,
24
          EVERYONE that I spoke to at the DOJ said ENDY AUSAs are covering up
25
          for Cogan and retaliated against me or him. The letters from the DOJ only
26
          state the misconduct of AUSAs and my lawyers. Please Take Notice, I sent
27

28   ADDENDUM DECLARATORY AND INJUNCTIVE COMPLAINT AGAINST DANIEL PEREZ OR AN CJA
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1          congress and the DOJ audio recordings—AUSAs, judges, and my lawyers—
2          maybe law enforcement, but I have to find the USB
3

4    --------------------------
5
                      Count 1: DECLARATORY AND INJUNCTIVE RELIEF –
6

7      33. Declaratory Judgment that I had my appeals lawyer provided me with
8
           ineffective assistance of counsel by not filing all motions to protect my rights
9
       34. Declaratory Judgment that my appeals lawyer helped Judge Cogan and Randi
10
           Weingarten deprive me of a proper appeal based on structural errors, like
11
           choice of lawyer
12
       35. Please Take Notice, there are audio recordings between Mr. Perez and I
13
           about my appeal
14
       36. The Plaintiff incorporates by reference the allegations set forth in the
15
           preceding paragraphs of this Complaint.
16
       37. The preceding paragraphs are incorporated by reference as if fully alleged
17
           herein.
18

19
       38. I have been through this with previous lawyers and waiting until a month and
           half prior to the appeal is due does not work for me because I informed Mr.
20         Perez to provide me with an answer
21                 a. Now, Mr. Perez said he has not read all documents to decide
                   b. There are many issues that were not dealt with at the district level
22
                       and 28 USC § 2106 can provide me with remedies
23     39. 28 USC § 2106 is a vehicle to gain possible remedies for constitutional
           violations that I incurred at the hands of Judge Engelmayer, as he said, “you
24
           will not get justice here.”
25

26
                                              Count II

27

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1      40. Declaratory Judgment that Sen. Schumer, Randi Weingarten, and Judge
2          Cogan interfered with Mr. Perez representing me, like Mr. Silverman saying
           that he did not do his job because of Judge Cogan.
3
       41. Mr. Perez has not said anything to allude to whom is interfering, like Mr.
4          Silverman or Mr. Huetson, but each one of my lawyers have done something
           to harm me, like deprive me of liberty for 3 years or be in jail for five
5
           months.
6      42. Mr. Perez wants me to wait until mid-March for him to decide if he willing to
7
           put in any motion under 28 USC §2106

8                               Count III Structural Error
9
       43. Declaratory Judgment that if Mr. Perez does not raise all claims, he provided
10         me with an ineffective assistant of counsel
11
       44. There are structural errors that were raised prior to pleading and sentencing
       45. The structural errors are choice of lawyer, biased judge, choice of defense,
12         ineffective assistance of counsel, etc.
13
                                Count IV Injunctive Relief
14

15     46. Mr. Perez must have my audio-recordings of Judge Engelmayer intimidating
           me placed on place for the public to download
16     47. Mr. Perez must place motions pursuant 28 USC § 2106 for the court of
17         appeal to consider
18
       48. Mr. Perez must put in the required motions
19
       49. Mr. Perez must raise all structural errors, like choice of lawyer or choice of
20
           defense or biased judge
21     50. Then, he must raise appealable issues recusal, brady, ineffective assistance of
22         counsel
       51. Mr. Perez must seek the recusal of AUSA Karamigous and ask for her
23         waiver.
24

25

26
                 Dated this 31st of December, 2021.
27

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                                                                Lucio Celli, Defendant
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